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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



MICHELLE DAY, ADMINISTRATOR
OF THE ESTATE OF JAMES AVERY
DEWEESE, SR., AND On BEHALF OF
THE WRONGFUL DEATH STATUTORY
BENEFICIARIES OF JAMES AVERY
DEWEESE, SR.; RUTH DEWEESE,
INDIVIDUALLY, AND MICHELLE
DAY, INDIVIDUALLY                                             PLAINTIFFS



V.                        Case No. 4:14-CV-0342 KGB




UNITED STATES OF AMERICA                                      DEFENDANT


                     MOTION FOR SUMMARY JUDGMENT
               ON BEHALF OF THE UNITED STATES OF AMERICA

      Comes Defendant, the United States of America, by and through

Christopher R. Thyer, United States Attorney for the Eastern District of

Arkansas, and the undersigned, pursuant to Rule 56 of the Federal Rules of

Civil Procedure, and for its Motion for Summary Judgment states that:

      1.       This is an action for medical injury under the Federal Tort Claims

Act, codified at 28 U.S.C. ' 2671, et seq., and prosecuted in substance under

the Arkansas Medical Malpractice Act, codified at Ark. Code Ann. § 16-114-

201, et seq.




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      2.    In an action for medical injury, under Arkansas law, a Plaintiff

must prove the applicable standard of care and a deviation therefrom, unless

the asserted negligence is a matter of common knowledge.         Ark. Code Ann.

§16-114-206(a)(1)-(2); Broussard v. St. Edward Mercy Health System, Inc., 2012

Ark. 14, 386 S.W. 3d 385 (Ark. 2012)(striking the language “by means of expert

testimony provided only be a medical care provider of the same specialty as the

defendant” as unconstitutional but specifically upholding the remaining

language in Ark. Code Ann. § 16-114-206(a)(1)-(2)).

      3.    In the instant case, the Plaintiff’s Complaint alleges that a

malignant liver mass was present on October 31, 2011 when Mr. James Avery

Deweese, Sr. underwent a computerized tomography (“CT”) scan at CAVHS.

See Document No. 1 at ¶ 8. However, the radiologist reading the CT scan on

October 31, 2011 did not visualize the mass at that time. Id.

      4.    The United States has stipulated that a mistake was made by

failing to visualize the mass on October 31, 2011, and that this failure fell

below the standard of care. See Document No. 33.

      5.    Thus, the only remaining triable issue in this case is the issue of

proximate causation. Ark. Code Ann. § 16-114-206(a)(3).

      6.    The Plaintiff’s medical evidence fails to establish that had the liver

cancer been diagnosed in October 2011, Mr. Deweese would have lived longer

than he actually did, or beyond July 22, 2013.

      7.    Thus, the Plaintiff fails to meet her burden of proof under the

Arkansas Medical Malpractice Act, and summary judgment must be granted as


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a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317,

322-23 (1986).

      8       A Statement of Undisputed Facts is filed herewith in accordance

with Local Rule 56.1(a).

      9.      A Brief in Support of Motion for Summary Judgment is filed

herewith and incorporated herein.

      WHEREFORE, the United States of America prays that the Court grant

its Motion for Summary Judgment, and that the Plaintiff=s Complaint against it

be dismissed with prejudice.

                                     Respectfully submitted,

                                     Christopher R. Thyer
                                     United States Attorney
                                     Eastern District of Arkansas

                                     /s/ Lindsey Lorence
                               By:   ________________________________
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                         CERTIFICATE OF SERVICE

       This will certify that a true and correct copy of the foregoing was filed
with the Court via ECF and a copy sent on this 6th day of May, 2016, to the
following:


      Mr. David Hodges
      Attorney at Law
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                                       /s/ Lindsey Lorence
                                       ______________________________
                                       Lindsey Mitcham Lorence
                                       Assistant United States Attorney




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